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                                   STATEMENT OF FACTS

        Your affiant, Patrick W. Straub, is a Special Agent with the Federal Bureau of Investigation
(FBI). I have been so employed since January 2005. I am currently assigned to the Joint Terrorism
Task Force (JTTF) in the FBI Baltimore Division. I am currently tasked, among other things, with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As an FBI
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        According to records obtained through a search warrant served on Verizon, on January 6,
2021, in and around the time of the incident, from approximately 2:17 p.m. EST to 2:19 p.m. EST,
the cellphone associated with (410) 708-8404 (8404) was identified as having utilized a cell site
consistent with providing service to a geographic area that included the interior of the United States
Capitol building. The FBI later obtained subscriber records from Verizon indicating that number
8404 belongs to ZACHARIAH SATTLER, who resides at 7 Rolling Road, Chestertown,
Maryland.

        According to a tip provided to the FBI on September 02, 2021 by Witness #1, SATTLER
was inside the Capitol Building on the afternoon of January 6, 2021 and smoked marijuana while
inside the building. Witness #1 heard this information from one of SATTLER’s family members.
During a follow-up telephonic interview on or about January 21, 2022, Witness #1 advised that
SATTLER had a prior felony conviction for distribution of marijuana.

        A review of SATTLER’s criminal history reflected several criminal violations involving
marijuana, including a 2006 arrest that led to a conviction for possession of marijuana with intent
to deliver, a 2011 arrest and conviction for possession of marijuana, and a 2012 arrest for
possession of marijuana.

       The FBI reviewed photos and videos that it had collected during its investigation of the
events of January 6, 2021, including some available on the internet that depicted an individual
outside the Capitol who physically resembled SATTLER. On February 11, 2022, during a
telephone conversation and subsequent text message exchange with Witness #1, the FBI asked
Witness #1 to review a publicly available YouTube video, specifically to include the portion of
the video from which the below screenshot was obtained. Witness #1 confirmed later that same
day: “Yes that’s him.” Witness #1 met SATTLER in person on one occasion and is familiar with
SATTLER’s family.




                                              Image 1

       The FBI reviewed CCTV footage from January 6, 2021 of the U.S. Capitol Building and
observed an individual physically resembling SATTLER inside the Capitol Building for more than

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20 minutes. During that period, SATTLER was observed smoking or puffing something consistent
with marijuana inside the Capitol Rotunda. A summary of SATTLER’s movements and activities
in the Capitol is included below: 1

               •   2:40 p.m.: SATTLER was part of a large mob of individuals who breached the
                   exterior door on the eastern side of the building near the Rotunda entrance on the
                   second floor of the Capitol building. Once inside, Sattler shouted, celebrated, and
                   urged the crowd to move further inside the Capitol Building. At 2:41 p.m.,
                   SATTLER disappeared off camera:




                                    Image 2
                                                                              Image 3




                                    Image 4
                                                                        Image 5
               •   2:41 p.m.: SATTLER entered the Rotunda on the eastern side of the room, appeared
                   to use his phone to take picture(s) or video(s), walked through the room, and then
                   exited the south side of the Rotunda at 2:42 p.m.:




1
    All times have been converted from Coordinated Universal Time to Eastern Standard Time.

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                                    Image 6

  •   2:42 p.m.: SATTLER walked through and looked at various items in Statuary Hall,
      appeared to pray in front of the Nebraska statue, interacted with and hugged an
      unknown individual, and used this individual’s camera to take a photograph of the
      individual posing with the Nebraska statue. While SATTLER was taking this
      picture, a group of law enforcement officers sprinted past him in the direction that
      SATTLER had been walking. SATTLER walked off camera at 2:44 p.m. towards
      the Statuary Hall Connector:




      Image 7                                          Image 8

  •   2:44 p.m.: SATTLER entered the Statuary Hall Connector, continued to gesture in
      a celebratory manner, drank water from a bottle, then walked back towards Statuary
      Hall:




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              Image 9                                  Image 10




                                   Image 11

  •   2:45 p.m.: SATTLER re-entered Statuary Hall while holding an illuminated phone,
      walked through the room, picked up and helped return a brass pole that had been a
      part of the rope barrier, and exited off screen at 2:46 p.m. in the direction of the
      Rotunda:




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       Image 12                                       Image 13




        Image 14                                        Image 15
  •   2:47 p.m.: SATTLER reentered the Rotunda from the south side and again
      celebrated by raising his arms in the air. SATTLER then got down and kissed the
      ground. SATTLER walked through the room, sat on a sofa along the wall before
      eventually standing up and exiting the Rotunda on the north side of the room at
      2:48 p.m.. SATTLER returned to the Rotunda less than a minute later, raised his
      arms again, then walked around the room for several minutes. SATTLER
      eventually exited the Rotunda again, through the south entrance, at 2:52 p.m.:




                                                  Image 17
             Image 16



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                                                       Image 19
              Image 18

  •   2:52 p.m.–2:58 p.m.: SATTLER was visible on camera in the distance, from time
      to time, in the hallway immediately outside the Rotunda. Multiple times, he would
      re-enter the Rotunda from the south. He would also, at some points, shout to the
      crowd. He would then head back out of the Rotunda and into the hallway where he
      could occasionally be glimpsed in the distance. SATTLER lingered in or around a
      group of people for much of this time:




               Image 20                                          Image 21
  •   2:59 p.m.–3:02 p.m.: SATTLER reentered the Rotunda from the South side,
      took several puffs from another individual’s cigarette, joint or similar object, before
      returning it to him/her. SATTLER then made additional celebratory gestures while
      standing and watching things around him. SATTLER looked out into the hallway
      towards a number of uniformed law enforcement officers who were assembling.
      SATTLER walked away from the hallway, continued to observe the surroundings,
      and, at approximately 3:02, he exited the room on the east side:




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                                                             Image 23
                            Image 22
          •   3:02 p.m.: SATTLER entered the view of a camera near the entrance/exit to the
              East side of the building (his original point of entry). SATTLER approached the
              door, urged others to enter the building, briefly spoke with a law enforcement
              officer, and physically assisted several individuals through the door inside the
              building. SATTLER then waded out through the exit and surge of people, outside
              and away from the Building:




                             Image 24                    Image 25
        On March 25, 2022, the FBI interviewed Witness #2 in person. Witness #2 has known
SATTLER for a long time and has consistently seen him over a period of years. However, Witness
#2 had not seen SATTLER for more than a year. Witness #2 heard from another person that
SATTLER was inside the Capitol Building on January 6, 2021, and that SATTLER, while inside,
smoked marijuana. Witness #2 was shown four photographs/screenshots of SATTLER from
January 6, 2021, including two from outside the building and two from inside. There were no
identifying marks on the photos when Witness #2 was shown the photos. Witness #2 confidently
identified SATTLER in three of the four pictures (the three are included below), and he/she
believed SATTLER was depicted in the fourth photo as well but could not tell for certain due to



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the picture quality. The person identified as SATTLER by Witness #2 is circled in yellow 2 in the
following three photos:




                                             Image 26 (collectively)

        On or about May 19, 2022, the FBI obtained records from Google in response to a search
warrant targeting accounts used by SATTLER. A review of these records revealed SATTLER’s
Google account contained numerous photographs and videos from Washington D.C. and the area
near the U.S. Capitol Building on January 6, 2021. These records revealed that SATTLER attended
the rally and speeches by/for former President Trump and then walked to the Capitol with the
crowds. In some of the videos, SATTLER shouted, chanted and/or cheered. In one video,
SATTLER commented he wanted to “go hang out with the Proud Boys for a minute” and, moments
later, zoomed in on the Capitol and stated: “there’s that bitchass Capitol Building with all them
dirty motherfuckers in it.”

       In another video, SATTLER stated “they dones bustin’ through the gate, we’re going to
the motherfucking Capitol Building!” as he walked past numerous “Area Closed” signs and
stepped over discarded barriers:




2
    The photos did not include the yellow circles when shown to Witness #2.

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                     Image 27                                    Image 28

       In two additional videos, SATTLER’s clothing and face can be briefly seen as he filmed
himself:




                     Image 29                                    Image 30

        In aother video, SATTLER stood near a Capitol Building entrance and stated: “Son of the
revolution SATTLERs” and moments later zoomed in on his own vomit and bragged that he
“threw up on the Capitol.”




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                                             Image 31

       The Google records did not include any videos or photographs from inside the Capitol
Building.
         Based on the foregoing, your Affiant submits that there is probable cause to believe that
ZACHARIAH SATTLER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do
so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that ZACHARIAH SATTLER
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or




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disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                    _________________________________
                                                    Special Agent Patrick W. Straub
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 9th day of December, 2022.
                                                                2022.12.09
                                                                16:41:22 -05'00'
                                             _____________________________________
                                             HONORABLE ROBIN M. MERIWEATHER
                                             UNITED STATES MAGISTRATE JUDGE




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